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                      Exhibit 16
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   B O I E S ,            S C H I L L E R                   &     F L E X N E R                L L P
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                                            July 7, 2014

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             Re:      In re Cathode Ray Tube (CRT) Antitrust Litigation,
                      Case No. 07-cv-5944-SC (N.D. Cal.)

      Dear Counsel:

             I write regarding the European Commission’s decision, issued December 5, 2012,
      concerning your clients’ participation in the CRT price fixing conspiracy (the “EC Decision”).

              In Judge Conti’s order of March 26, 2014 denying the Direct Action Plaintiffs’ motion to
      compel production of the EC Decision, he noted that “the speedy development of a public
      version of the Decision is highly important.” Dkt. No. 2463 at 6. He further noted that
      Defendants had represented that publication of a non-confidential version of the EC Decision
      prior to the end of fact discovery in this case was “likely.” Id. at 5, 6. As such, Judge Conti
      “encouraged [Defendants] to proceed apace with their collaboration in the EC’s public version of
      the Decision.” Id. at 6.1

              Although it has been more than three months since Judge Conti issued his decision and
      the close of fact discovery in this case is now less than two months away, the EC has not issued a
      public version of its Decision. Please advise what steps Defendants have taken to assist in the
      EC’s publication of a public version of its Decision since Judge Conti issued his order on March

      1
        See also id. at 8 (“The Court therefore finds that the final factor weighs against disclosure, and
      that it also outweighs the benefit the DAPs might receive in obtaining the Decision. However, as
      noted above, Defendants seem optimistic about the EC’s publication of a public version of the
      Decision before the close of discovery in this case. They are advised to assist in that task.”)


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Counsel
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26, 2014. Please further advise whether you have any information regarding whether a public
version will, in fact, be forthcoming before the end of fact discovery in this case. Please provide
a response as soon as possible and, in any event, no later than Monday, July 14. The Direct
Action Plaintiffs do not want to renew our motion to compel on this issue if the EC decision will
be made public shortly, but given the impending fact discovery cut-off, we need to know where
this issue currently stands.



                                             Sincerely,

                                             /s/ Philip J. Iovieno

                                             Philip J. Iovieno
                                             Liaison Counsel for the Direct
                                             Action Plaintiffs




cc:    Direct Purchaser Plaintiffs’ Counsel
       Indirect Purchaser Plaintiffs’ Counsel




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